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1                            IN THE UNITED STATES DISTRICT COURT

2                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

3
4    LAURA LOOMER, as an individual, LAURA                 Case No. 3:22-cv-02646-LB
     LOOMER, in her capacity as a Candidate for
5    United States Congress, and LAURA LOOMER              [PROPOSED] ORDER GRANTING
     FOR CONGRESS, INC.,                                   MOTION TO WITHDRAW AS
6                                                          COUNSEL AND COUNSEL PRO HAC
                                                           VICE FOR TWITTER DEFENDANTS
                                  Plaintiffs,
7
                                                           The Honorable Laurel Beeler
             v.                                            Courtroom B, 15th Floor
8
     META PLATFORMS, INC., MARK
9    ZUCKERBERG, in his capacity as CEO of Meta
10   Platforms, Inc. and as an individual, TWITTER,
     INC., and JACK DORSEY, in his capacity as
11   former CEO of Twitter, Inc. and as an individual,
     THE PROCTOR & GAMBLE CO., and DOES
12   1-100, individuals,
13                                Defendants.
14
15           Reid J. Schar, Samuel S. Ungar, and Alison I. Stein (collectively, “Jenner Movants” or
16   “Movants”) seek to withdraw as counsel and counsel pro hac vice for Defendants Twitter, Inc. and
17   Jack Dorsey (collectively, “Twitter Defendants”) in the above-captioned litigation pursuant to
18   Local Rule 11-5(a). As this Court finds that Movants have submitted satisfactory reasoning for
19   withdrawal, and that this granting of this Motion will not cause substantial prejudice or delay to
20   any party,
21           IT IS HEREBY ORDERED that the Jenner Movants’ Motion to Withdraw as Counsel
22   and Counsel Pro Hac Vice for the Twitter Defendants is GRANTED, subject to the condition that
23   papers may continue to be served on Movants for forwarding purposes until the Twitter Defendants
24   appear by other counsel. The Movants are hereby terminated as counsel and counsel pro hac vice
25   in this proceeding.
26
27

28
                            [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW
                                 AS COUNSEL AND COUNSEL PRO HAC VICE
                                         Case No. 3:22-cv-02646-LB
     4859-7238-5606
            Case 3:22-cv-02646-LB Document 93 Filed 12/30/22 Page 2 of 2




1    Dated: ___________________          ______________________________________
                                          HON. LAUREL BEELER
2                                         United States Magistrate Judge

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                     [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW
                          AS COUNSEL AND COUNSEL PRO HAC VICE
                                  Case No. 3:22-cv-02646-LB
